Case 2:16-cr-00055-RBS-DEM Document 48 Filed 08/01/18 Page 1 of 3 PageID# 261



                                                                                       AUQ- 12018
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division


UNITED STATES OF AMERICA                     )
                                             )
      V.                                     )       CaseNo.2:16CR55
                                             )
SHAKIRMCNEAL                                 )
      Defendant.                             )
      •                                      )

                                   RESTITUTION ORDER


1.    Pursuant to 18 U.S.C § 3663A(a)(l), the defendant is ordered to payrestitution in the
      amount of $143,675.71 jointlyandseverally with other defendants who are ordered to
      payrestitution for the same losses. Defendants in a related case areShaquana K. Taylor
      (2:15CR88), Anthony V. Newton (2:15CR88), andDewrel L. Burleson (2:15CR102).

2.    The amoimt of restitution paid to anyvictim, collectively, shall not exceedthe victim's
      total loss from the offenses ofconviction.

3.    The victim's names, addresses, and the victim's respective total loss amounts are listed
      on the Sealed Attachment A to this Restitution Order.

4.    Interest^

              is waived.

              accrues as provided in 18 U.S.C § 3612(f).

4.    Notwithstanding anyotherprovision of thisRestitution Order or thesentence imposed,
      including the directive to make periodic payments, restitution is due in full andpayable
      immediately from assets known andunknown andincluding assets identified in the
      Presentence Report. The Government may enforce restitution at any time.

5.    If incarcerated, the Court encouragesthe defendant to participate in the Bureau of
      Prisons' Inmate Financial Responsibility Program, to comply with the provisions of the
      financial plan, and to meet the defendant's financial obligation, pursuantto 28 C.F.R. §
      545.10-11.
6.    If restitution is not paid in full immediately, the defendant shallpay to the Clerkat least
      $ ^OB-OO per monfe or 25 percent ofnet income, whichever is greater, beginning 60
      days after release from any period of confinement, or 60 days after sentencing ifno
      confinement is imposed.
Case 2:16-cr-00055-RBS-DEM Document 48 Filed 08/01/18 Page 2 of 3 PageID# 262




 7.     Allpayments shall be made to theClerk of Court, United States District Court, 600
        Granby Street, Norfolk, Virginia 23510-1811.

 8.     Within30 days of (a) any changeof name, residence, or mailingaddress; and/or(b) any
        material change in economic circumstances that affects the ability to pay restitution, the
        defendant shall notify the Clerk of Court and the United States Attorney's Office,
        Financial Litigation Unit, 8000 World Trade Center, Norfolk, Virginia 23510.

 9.     No delinquent or defaultpenaltieswill be imposedexcept upon Order of the Court.

 10.    The Clerk of Court shall distribute the fimds to the victims on a pro rata basis. The Clerk
        may withhold distribution of any restitution amounts until the sum available for
        restitution to each victim is at least $25.00.
                                                                         M
                                                               Rebecca Beach Smith^^
                                                                     Chief Judge
                                                         Honorable Rebecca Beach Smith
                                                         Chief United States District Judge

                          day of.       ^2018.
 ENTERED this
                                    H
 at Norfolk, Virginia

 WE ASK FOR THIS:                                        SEEN AND AGREED:


 G. Zachary Terwillger
 United States Attorney
                                                         Shakir McNeal
                                                         Defendant



StepK^Wi HayfUe
Assistant United States Attorney                         Eric Leckie
United States Attorney's OfjBce                          Coimsel for the Defendant
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Case 2:16-cr-00055-RBS-DEM Document 48 Filed 08/01/18 Page 3 of 3 PageID# 263




                      ATTACHMENT A TO RESTITUTION ORDER


 Victim:                               Loss Amount:
 G.C.                                  $3,000.00
 R.C.                                  $4,500.00
 K.S.                                  $2,000.00
 R.S.                                  $8,500.00
 A.S.                                  $5,000.00
 F.S.                                  $12,750.00
A.T.                                   $4,500.00
J.T.                                   $8,000.00
R.W.                                   $8,500.00
A.Z.                                   $4,000.00
K.G.                                   $43,950.00
M.H.                                   $20,000.00
C.K.                                   $12,700.00
J.K.                                   $6,275.71
Total due from defendant:              $143,675.71
